Vanessa McCarty

From: Patrick |\/|egaro <pmegaro@ha|scottmegaro.com>
Sent: Tuesday, December 29, 2015 5:03 P|\/|

To: Vanessa McCarty; Jaime Ha|scott

Cc: i\/|athew F|atow; Patricia Armenteros

Subject: RE: Antonio Stukes v. Debra Antney 3:15-CV-l76

l received it

From: Vanessa |\/|cCarty [rnaiito:*v'a nessa @seiferflatow.com]

Sent: Tuesday, December 29, 2015 5:02 P|\/l

To: Jaime Ha|scott <]haiscott@ ha|scottmegaro.com>; Patrick |\/|egaro <pmegaro@haiscottmegaro.corn>

Cc: |\/|athew F|atow <Mathew@seiferfiatow.com>; Patricia Armenteros <parmenteros@halscottmegaro.com>
Subject: FW: Antonio Stukes v. Debra Antney 3:15-CV-176

 

 

Counse|,

P|ease see the attached. l received an ”unde|iverab|e, emai| address could not be found" error When attempting to emai|
your appea|s|awgroup.com emai| addresses.

P|ease contact our office with any questions or concerns.
Thanks,

Vanessa

From: Vanessa McCarty
Sent: Tuesday, December 29, 2015 4:07 PM
To: 'jha|scott@appea|s|awgroup.com'; nmeqaro@ap_nealsiawqroup.com

Cc: parmenteros@ha|scottmegaro.com; Mathew F|atoW
Subject: Antonio Stukes v. Debra Antney 3:15-CV-176

Counse|,

P|ease see the attached correspondence regarding the above mentioned case. P|ease contact our office With any
questions or concerns.

Thank you.

Vanessa McCarty
Paralegal
SeiferF|atow, PLLC
2319 Crescent Avenue
Charlotte, NC 28207
Phone: 704-512-0606
Fax: 704-314-0677

   

Vanessa@seiferf|atow.com pLAm-|-|FF’S

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